FE ESS ts
Case 01-01139-AMC Doci1i1 Filed 04/18/01 Pageiofi1

CALENDAR NOTICE

TO: Clerk, U.S. Bankruptcy Court DATE_1_/\71/O|
Clerk, U.S. District Court

FROM: Chief Judge Farnan

CASE CAPTION: In 2e \W.R. Gace

CASE NUMBER: Bankruptcy No, Q\- \\3%

1. The following proceeding(s) are scheduled:

PROCEEDING DAY DATE TIME
___ JURY TRIAL ___days / ,2000 at__ rm.
# of Jurors Requested

___NON-JURY TRIAL —___days __f 2000at___ lm
___TELE-CONFERENCE f/f, 2000 at___ 0
PRETRIAL CONFERENCE {2000 at

“Z._ S\ohUS CONFERENCE Wed. TAX, 2009 at_\). 30g. m.

____ HEARING ,2000 at__ sm.

___ CHANGE OF PLEA /,2000at___ sm.

___ SENTENCING _ _f_,2000at__ sm.

INTERPRETER NEEDED no SY

COURT REPORTER REQUESTED 7 yes COURTROOM 6A

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2. The following proceeding(s) are canceled:

PROCEEDING DAY DATE TIME

___ JURY TRIAL ___days _ l ,2000 at___ em.

NON-JURY TRIAL ___days __f? 2000 at m.
____TELE-CONFERENCE / , 2000 at ___em.
____ PRETRIAL CONFERENCE / , 2000 at em.
Y¥_ _SiodvS CONFERENCE WX £2Q _, 2009 at_\\: 00am.
____ HEARING , 2000 at ___em.
____ CHANGE OF PLEA , 2000 at __em.
____ SENTENCING / , 2000 at m.
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(CHAMBERS USE ONLY)

S CHAMBERS CALENDAR

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Prepared by Aue

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